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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:06CR3102
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
ANDRANETTE FOSTER,                             )
                                               )
                     Defendant.                )


        IT IS ORDERED that the motion to release compliance bond (filing 147) is granted
to the extent that the Clerk of Court is directed to refund the bond proceeds to the person who
posted it as shown by the Clerk’s office records.

       February 26, 2008.                  BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
